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 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    STEVEN WAYNE BONILLA,                              No. 2:18-CV-2550-DMC-P
12                       Plaintiff,
13            v.                                         ORDER
14    MERCED COUNTY,
15                       Defendant.
16

17                  Plaintiff, a prisoner proceeding pro se, brings this civil rights action pursuant to

18   42 U.S.C. § 1983.

19                  Though plaintiff has initiated this action by filing a complaint captioned to the

20   United States District Court for the Eastern District of California, plaintiff appears to challenge

21   his capital murder conviction out of Alameda County. To the extent plaintiff is raising claims

22   which would be cognizable in a habeas corpus action under 28 U.S.C. § 2254, courts in both the

23   district of conviction and the district of confinement have concurrent jurisdiction over

24   applications for habeas corpus filed by state prisoners. See 28 U.S.C. § 2241(d); see also Braden

25   v. 30th Judicial Circuit Court, 410 U.S. 484 (1973). In this case, because the county of conviction

26   is located within the boundaries of the Northern District of California and because the place of

27   incarceration is also located in the Northern District of California, that court is the proper venue

28   to hear the matter under § 2254.
                                                        1
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 1                   To the extent the action is construed as a civil rights complaint under 42 U.S.C.

 2   § 1983, the federal venue statute requires that the action be brought only in (1) a judicial district

 3   where any defendant resides, if all defendants reside in the same State, (2) a judicial district in

 4   which a substantial part of the events or omissions giving rise to the claim occurred, or a

 5   substantial part of property that is the subject of the action is situated, or (3) a judicial district in

 6   which any defendant may be found, if there is no district in which the action may otherwise be

 7   brought. See 28 U.S.C. § 1391(b). Here, to the extent plaintiff is challenging the conditions of

 8   his confinement at San Quentin State Prison, the claim(s) arose in Marin County, which is within

 9   the boundaries of the United States District Court for the Northern District of California.

10                   Accordingly, IT IS HEREBY ORDERED that this matter is transferred to the

11   United States District Court for the Northern District of California.

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13   Dated: October 11, 2018
                                                               ____________________________________
14                                                             DENNIS M. COTA
15                                                             UNITED STATES MAGISTRATE JUDGE

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